CHICAGO INSULATED WIRE &amp; MANUFACTURING CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Chicago Insulated Wire &amp; Mfg. Co. v. CommissionerDocket No. 2380.United States Board of Tax Appeals10 B.T.A. 1195; 1928 BTA LEXIS 3931; March 7, 1928, Promulgated *3931  Collection of the deficiency involved in this proceeding is barred by the statute of limitations.  Albert W. Torbet, Esq., for the petitioner.  Alva C. Baird, Esq., for the respondent.  LITTLETON*1195  The Commissioner determined a deficiency in income and profits tax for the calendar year 1917 in the amount of $18,788.18.  Petitioner claims that the alleged deficiency is barred by the statute of limitations, and that the Commissioner, having previously made a refund to petitioner of taxes for the year 1917, was subsequently without authority to reverse his action and reassess the amount refunded.  FINDINGS OF FACT.  Petitioner is an Illinois corporation engaged in the manufacture and sale of insulated wire, with principal office at Sycamore.  Petitioner filed its income and profits-tax returns for the year 1917, on April 1, 1918.  June 14, 1921, petitioner and the Commissioner entered into a written consent in respect of petitioner's tax liability for the year 1917 as follows: CHICAGO INSULATED WIRE &amp; MFG. CO., a corporation organized under the laws of the State of Illinois, in consideration of the assurance given it by officials of the*3932  Income Tax Unit of the Bureau of Internal Revenue that its liability for all Federal taxes imposed by the Act of Congress, approved September 8, 1916, as amended by the Act of Congress approved October 3, 1917, for the year ended December 31, 1917, on its net income received from all sources in said year, shall not be determined except after deliberate, intensive and thorough consideration, hereby waives any and all statutory limitations as to the time within which assessments based upon such liability may be entered.  It is understood, however, that the above corporation does not, by the execution of this waiver, admit in advance the correctness of any assessment which may be made against it for said year by the officials of the Income Tax Unit.  Executed this 14th day of June, 1921.  (Signed) CHICAGO INSULATED WIRE &amp; MFG. CO., Corporation.By A. B. GOCHENOUR, (Title) Pres.Corporate Seal: Attest: L. R. LOVE Secretary.D. H. BLAIR, Approved.December 5, 1922, the Commissioner notified the petitioner of his determination of its taxable net income and invested capital for the *1196  calendar year 1917.  February 19, 1923, petitioner made*3933  application to the Commissioner for determination of its profits tax for 1917, under the provisions of section 210 of the Revenue Act of 1917, and at the same time filed a claim for refund of taxes for that year.  On August 4, 1923, the Commissioner notified the petitioner that its application for determination of its profits tax under section 210 of the Revenue Act of 1917 had been granted, and that as a result an overassessment and overpayment had been determined in the amount of $18,438.82.  On November 24, 1923, the petitioner received a refund check for the amount of $18,438.82.  On March 25, 1924, the Commissioner notified petitioner that the computation of the tax, as shown by his notification of August 4, 1923, was erroneous and that a jeopardy assessment of $18,788.18 would be made immediately without giving the usual thirty days' notice as provided in section 250(d) of the Revenue Act of 1921.  This amount was assessed on the March 25, 1924, special list.  No portion of the amount reassessed on March 25, 1924, has yet been paid.  Subsequent to April 1, 1924, petitioner received from the collector of internal revenue a notice and demand for payment of the additional assessment*3934  and forthwith filed a claim for the abatement of the amount assessed, and on May 19, 1924, petitioner filed an appeal to the Commissioner from the action of the Income Tax Unit upon its abatement claim.  On January 22, 1925, the Commissioner made a determination upon petitioner's abatement claim and notified petitioner that the conclusions set forth in the notice of March 25, 1924, were sustained and that its claim for the abatement of $18,788.18 was rejected.  On March 7, 1925, petitioner filed its petition with this Board.  OPINION.  LITTLETON: The written consent entered into between petitioner and the Commissioner expired April 1, 1924.  The Commissioner made the assessment on March 25, 1924, which was within the period agreed upon.  The amount assessed and now claimed by the Commissioner has never been collected.  Since the five-year period within which the Commissioner might collect any amount from the taxpayer as a tax expired under the statute and the consent before the passage of the Revenue Act of 1924, collection of the proposed deficiency is now barred by the statute of limitations.  *3935 ; ; . Judgment of no deficiency will be entered.